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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS
                                                                              F \LE.           o·
                                                                                 JUN 1 9   zon
~~
        Kendra Ross        ~~~~~~
                                                        )
                                                        )
                                      Plaintiffs,       )
v.                                                      )
                                            ) Case No. 2: 17-cv-02547-DDC-TJJ
Royall Jenkins, and The Value Creators, Inc.)
f/k/a The United Nation of Islam, Inc.,     )
and The Value Creators et al _ _,           )
                                                        )
                                      Defendants.       )



                                      MOTION FOR NEW TRIAL



Now comes forth Royall Jenkins a non-belligerent, non enemy of the state being of sound mind
and recuperating body hereby offer the following statement of Truth concerning the alleged
allegations/charges from one Kendra Ross case number: 2:17-cv-02547-DDC-TJJ.
Pursuant of Federal Rule of Civil Procedure 59. New Trial; Altering or Amending a Judgment
(a)(l )(B)(2)(b)(c)(d)( e)

FACTS:
  L Defendants Royall Jenkins, and The Value Creators, Inc. f/k/a The United Nation of
     Islam, Inc. and The Value Creators LLC, pursuant to Federal Rule of Civil Procedure
     8(b)(3) deny each and every allegation of fact or conclusion of law contained in case#
     2: 17-cv-02547-DDC-TJJ.
  2. Defendants Royall Jenkins et al; pursuant to Federal Rule of Civil Procedure
     12(4)(b)(5) INSUFFICIENT SERVICE OF PROCESS; I was recently made aware
     of the judgment from a news cast presented on the internet concerning this case thus, I
     was NOT properly SERVED notice and now seek a NEW TRIAL so justice may be
     rendered.
  3. Defendants Royall Jenkins et al; pursuant to Federal Rule of Civil Procedure
     60(b)(2)(3) RELIEF FROM A FINAL JUDGMENT, ORDER, OR
     PROCEEDING.
     A. Eyewitness and expert testimoqies from the living the participants listed on the
         attached Petition/Affidavit noted as exhibit A.




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          B. Eyewitness and expert testimonies from family relatives, roommates, school
              instructors, medical doctor and others who have had first-hand interaction with
              Kendra Ross and Will attest to her fraudulent claim with examples noted as exhibit
              B.
          C. Documented literature of specific Laws and Principals of the United Nation of        ·.
              Islam.
          D. Video and newspaper evidence of our open-hand policy of how operations
              functioned in the United Nation of Islam during the time of approximately 1993
              through 2012.
     4.   At this time I, Royall Jenkins am physically unable to attend any hearings that may be
          presented in court due to me having a stroke (Medical Definition: Cerebrovascular
          accident) .and has rendered me being unable to walk. My main focus is pursuing a full
          recovery to all of my physical motion and overall health.
     5.   My confidant and AUTHORIZED Power of Attorney Ephraim Woods Jr. has sought
          out legal counsel and was either denied representation by numerous law firms or
          presented with fees that were beyond absorbent and beyond our means of sufficing
          through commerce.
     6.   Currently, my only source of income is from the Social Security disbursement I receive
          which amounts to $1,200 per month.
     7.   My will is that the court find in our favor and DISM,ISS all charges with PREJUDICE
          and additionally, all prior and future court costs related to this case be forwarded to
          Gillian Chadwick Washburn Law Clinic Washburn University School of Law
          Topeka, Kansas 66621and/or Elizabeth A. Hutson, Esq. (D.C. Bar No. 1024845)
          McGuire Woods LLP 2001 K'Street, NW Suite 400 Washington, DC 20006 for
          Final Recovery.

 One court has explained that the power to grant a motion for a New Trial:
 "is a power to examine a whole case on the law and the evidence, with a view to securing a
 result, not merely legally, but also manifestly against justice, - a power exercised in pursuance
 of a sound judicial discretion, without which the jury system would be a capricious and
 intolerable tyranny, which no people could long endure." -Aetna Casualty & Surety Co. v.
 Yeatts, 122 F.2d 350 (4th Cir. 1941).

 My will is in the express interest and protection of Public Policy to keep the "PUBLIC" side
 public and the "PRIVATE" side private; I therefore pray the Court approves our request for:

     1. NEWTRIAL
      2. VACATE THE JUDGEMENT
      3. Assign Court appointed Counsel to assist in the litigation of this case OR allow my
         AUTHORIZED Power of Attorney Ephraim Woods Jr. to conduct the proceedings "Pro .
         Se."
• We look ahead to moving forward in a peaceful manner and that Justice may be served in this
  case.



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                      "I hereby certify that I have mailed a copy of this motion to:
                                          Gillian Chadwick
                                        Washburn Law Clinic
                                   Washburn University School of Law
                                        Topeka, Kansas 66621
                                        on the 19th day of June, 2018."




                                                                                                    '




                                                                   "      Respectfully Submitted,




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